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                   UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS-EASTERN DIVISION

AVKO EDUCATIONAL RESEARCH
FOUNDATION, INC., a Michigan nonprofit
corporation,

                       Plaintiff,
                                                        Case Number: 15-cv-03393
       v.
                                                        Hon. John W. Darrah
WAVE 3 LEARNING, INC., a Nevada
corporation, and THOMAS MORROW, an
individual d/b/a SEQUENTIAL SPELLING,

                       Defendants.

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties to this action, acting through counsel, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) hereby stipulate, in consideration of a negotiated settlement executed

by them, to the Dismissal With Prejudice of this action, including all claims and counterclaims

brought in this action against all parties, with each party to bear its own attorneys’ fees and costs.

                                                               /s/ Brian Noack
                                                               Brian Noack
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                                                       Attorneys for Plaintiff AVKO Educational
                                                       Research Foundation, Inc. and
                                                       Counterdefendant Donald McCabe
Date: March 8, 2016
                                                              /s/ Daliah Saper
                                                              Daliah Saper
                                                              Saper Law Offices, LLC
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                                        Counterclaimants Wave 3 Learning, Inc. and
                                        Thomas Morrow




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                                 CERTIFICATE OF SERVICE
       The undersigned certifies that, on March 8, 2016, he caused this document to be
electronically filed with the Clerk of Court using the CM/ECF system, which will send
notification of filing to counsel of record for each party.


Dated: March 8, 2016                                   WOLEK & NOACK



                                                       By:    /s/ Brian T. Noack
                                                       Brian Noack




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